                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                   NO. 5:20-CR-00296-lD



UNITED STATES OF AMERICA                                       ORDER GRANTING MOTION
                                                               FOR LEAVE TO FILE
                                                               DOCUMENT UNDER SEAL
  v.


KAYLA WHITLEY BRUCE


       This matter having come before the Court by the Defendant's motion for leave to file

documents under seal, it is ORDERED that the motion is granted.

       SO ORDERED.



       This    I~     day of October, 2020.




                                                   J   S C. DEVER III.
                                                   UNITED STATES DISTRICT JUDGE




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